Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 1 of 6




             EXHIBIT B
Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 2 of 6
Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 3 of 6
Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 4 of 6
Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 5 of 6
Case 1:07-cv-01205-LG-RHW   Document 338-3   Filed 01/14/10   Page 6 of 6
